












IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. 74,458






RONNIE PAUL THREADGILL, Appellant



v.



THE STATE OF TEXAS






APPEAL FROM


NAVARRO COUNTY






	Womack, J., filed a concurring opinion, in which Price, Johnson, and
Cochran, JJ., joined.



	Before the citizens who had been summoned were examined for jury service, they
answered written questions. Question 22 allowed them to give their views about the death
penalty. One prospective juror, Deborah Hawkins, wrote "that no one has a right to kill. And
no one should be allowed to live for killing some one else." When she was examined orally,
she said she had thought about her position for "quite a few years now," and she had
formulated it from something that happened to her brother-in-law. "He was murdered a few
years back." That was the only basis for her opinion. She said that the killing "was
senseless." Following her answer in the record is the court reporter's notation, "(Tears in
eyes)." The prospective juror affirmed that she could base her punishment verdict on the
evidence, but when she was called on to reconcile those affirmations with her written
answer, she said, "I can't.  I don't know." She consistently maintained that she would base
her verdict on the law and the evidence, and she said that she could consider mental illness
as a mitigating factor that she could consider in deciding punishment.

	The trial court denied the appellant's challenge for cause, and the appellant was
required to use one of his allotted peremptory challenges on the juror. Today we find no
error because we defer to the trial court's seeing the jurors' demeanors and hearing the
jurors' voices. Ante, at 18-20. This is a venerable rule for reviewing credibility decisions,
to which there is little alternative in a close case. My question is, why permit close cases in
selecting jurors?

	When a court faces an issue of fact, it must rely on limited sources of information.
Only so many witnesses will have relevant information about a contested issue of fact.
When evidence conflicts, hard choices must be made. The trial judge is the person whose
decision must be respected. But there is ordinarily no such need when it comes to deciding
whether a citizen is qualified for jury service. If the question is close, the juror can be sent
away.

	We said exactly that a few years ago. We applied our harmless-error standard to a
line of cases in which we had held that judgments of conviction would be reversed when a
State's challenge for cause was erroneously granted. We said, "By the standards of stare
decisis, analysis of precedent, and logic, th[at] holding  is unsupportable. It is also
contrary to a policy which we think courts should follow: the liberal granting of challenges
for cause. The venire comprises so many jurors who are clearly qualified that it is
unnecessary to err by denying a challenge for cause on a close question." Jones v. State,
982 S.W.2d 386, 394 (Tex. Cr. App. 1998).

	Maybe the trial court could see in Venire Member Hawkins's demeanor and hear in
her voice something that I cannot read in her words, that she could excuse a murderer from
the death penalty. But I do think that, when a potential juror in a capital murder case is
crying about the murder of her relative and thinks that no one who has killed another should
be allowed to live, we could ask our trial judges to let her go to a court that is trying a theft
case and bring in another person for the murder trial. If Ms. Murray were an eyewitness to
the crime, she might well be irreplaceable. But as a juror, she easily could have been
replaced. I do not say that the trial judge's decision of this close question of fact was
wrong. But it was contrary to the policy that courts should follow.

 

En banc.

Filed October 13, 2004.

Publish.


